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                                                                                  Wilson Sonsini Goodrich & Rosati
                                                                                  Professional Corporation
                                                                                  1301 Avenue of the Americas, 40th Flr.
                                                                                  New York, NY 10019
Marina C. Tsatalis
Internet: mtsatalis@wsgr.com                                                      O: 212.999.5800
Direct dial: 212.497.7782                                                         F: 866.974.7329




                                               October 8, 2024

By ECF

Honorable Leda D. Wettre
United States Magistrate Judge
U.S. District Court for the District of New Jersey
Martin Luther King Jr. Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

         Re:       Admission Pro Hac Vice of Counsel on Consent – United States, et al. v. Apple, Inc.,
                   Case No. 2:24-cv-04055 (JXN-LDW)

Dear Judge Wettre:

         This firm, together with Williams & Connolly LLP, represents non-party Google LLC (“Google”)
in the above-referenced matter. Pursuant to Local Civil Rule 101.1(c), Google hereby submits this
application for the pro hac vice admission of John E. Schmidtlein and Youlin Yuan of the law firm
Williams & Connolly LLP in this matter. Counsel for Plaintiffs and Defendant consent to this
application.

         In support of this application, enclosed please find the following:

         1. Declaration of Marina C. Tsatalis in support of application for admission of John E.
            Schmidtlein and Youlin Yuan pro hac vice;

         2. Declaration of John E. Schmidtlein;

         3. Declaration of Youlin Yuan;

         4. Proposed Consent Order granting the pro hac vice admission.

        Should the enclosed proposed form of Order meet with Your Honor’s approval, we respectfully
request that it be entered. We are available at Your Honor’s convenience for have any questions.
convenience.

         We thank the Court for its kind attention to this matter.

                                                           Respectfully submitted,



                                                           Marina C. Tsatalis

Enclosure

cc:      All Counsel of Record via ECF
